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11
                         UNITED STATES DISTRICT COURT
12                      NORTHERN DISTRICT OF CALIFORNIA
13                      SAN FRANCISCO-OAKLAND DIVISION
14
15   AMERICAN CIVIL LIBERTIES
     UNION FOUNDATION, et al.,             Case No. 19-CV-00290-EMC
16
17                Plaintiffs,
                                           [PROPOSED] ORDER
18         v.
19   DEPARTMENT OF JUSTICE, et al.,
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                  Defendants.
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                                            1
                                   [PROPOSED] ORDER
                                CASE NO. 19-CV-00290-EMC
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1                                  [PROPOSED] ORDER
2          This matter comes before the Court on referral by Judge Edward M. Chen
3    regarding the delayed review, processing, and production of documents by the
4    Defendant federal agencies in response to Plaintiffs’ FOIA request (the “Request”)
5    (ECF No. 52). It is hereby ORDERED that:
6          (1) By September 21, 2020, Defendant Department of Homeland Security
7    (“DHS”) Privacy Office shall respond to Plaintiffs’ proposal dated June 29, 2020
8    regarding the parameters of Defendant’s search, to which Defendant has agreed in
9    principle except as to parameters for a search related to Part 1 of the Request;
10         (2) Defendant DHS Privacy Office shall subsequently meet and confer with
11   Plaintiffs as necessary and commence the search, processing, and production of
12   records responsive to the Request by October 2, 2020;
13         (3) Defendant Department of State shall adopt and communicate to Plaintiffs
14   by October 9, 2020 a written plan for resuming the processing and production of
15   records responsive to the Request in this case within a reasonable timeframe; and
16         (4) The parties shall submit a status report within 30 days of this order.
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18         IT IS SO ORDERED.
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20         9/15/2020
     Date:______________________
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24                                                  ______________________________
25                                                  Judge Robert M. Illman
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                                       [PROPOSED] ORDER
                                    CASE NO. 19-CV-00290-EMC
